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                  IN THE UNITED STATES DISTRICT COURT
                          DISTRICT OF KANSAS
CHRIS HAULMARK,                          )
                                         )
                         Plaintiff,      )
                                         )
vs.                                      ) Case No.: 21-1182-EFM-TJJ
                                         )
                                         )
CITY OF WICHITA and BRANDON              )
WHIPPLE, in his official capacity as the )
Mayor of the City of Wichita,            )
                                         )
                         Defendants.     )
______________________________ )


                          ANSWER OF BRANDON WHIPPLE
       COMES NOW the defendant Brandon Whipple, and for his answer to the

allegation contained in the Plaintiff’s Complaint, alleges and states as follows:

       1.     Any allegation contained in the Plaintiff’s complaint that are not

specifically admitted shall be deemed denied. Denials of certain allegations

within the numbered paragraphs of Plaintiff’s Complaint is not an admission to

the remaining allegations of those paragraphs.

       2.     Defendant Brandon Whipple (hereinafter “Whipple” or “the Mayor”)

generally admits the allegations in paragraph 1. The platform plaintiff references
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in his allegations as to the Mayor is the Mayor’s Facebook campaign page. The

Facebook page clearly indicates under the Page Transparency Section that

Whipple’s Mayoral Campaign Committee, Whipple for Mayor, Chelsea

Whipple, Treasurer is responsible for this Page. None of the actions

taken as to this site are in his official capacity as Mayor.

      3.     All videos posted to the Mayor’s campaign page are closed captioned

and the Mayor has received kudos from plaintiff for his efforts to communicate

with the hearing impaired. The only content not closed captioned are the

Facebook Live videos and the Mayor is not aware of technology that can close-

caption Facebook Live videos.

      4.     Paragraphs 2 and 3 are admitted in part; the Mayor does not know

whether the ADA requires close-captioning for live feeds to campaign websites,

but to the extent technology is ever developed to do that, he will be among the

first to utilize that technology.

      5.     The plaintiff was banned from the interactive space of the Mayor’s

campaign website because he was organizing people from outside of Wichita to

take over the community discussion and was abusive to participants, including

the Mayor.

      6.     The allegations in paragaph 5 are specious and plaintiff knows it.

Plaintiff has repeatedly praised the Mayor’s efforts to include the hearing

impaired in his efforts to communicate. If technology existed to close caption

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Facebook Live, he would have already utilized it.

      7.      The allegations contained in paragraphs 6, 7, 8, 9, 21, 22, 23, 33-91

are denied.

      8.      The allegations contained in paragraphs 11, 12, 13, 14,

      9.      Whipple is without sufficient information or knowledge to admit or

deny the allegations contained in Paragraph 10, 20, 24-32, of Plaintiff’s

Complaint and, therefore, denies the same.

      10.     The allegation contained in paragraph 16 are admitted except the

Saturday discussions take place on Whipple’s Facebook page owned by his

Mayoral campaign committee.

      11.     The Mayor’s campaign page is used for outreach for his political

campaign. He does not transact official business on the page and the page is not

for official city business. Haulmark is not blocked by the official Mayor of

Wichita Facebook page owned and managed by the City of Wichita.

      WHEREFORE, Defendant Brandon Whipple prays that Plaintiff take

nothing by his Complaint, with all claims being dismissed with prejudice, for his

costs of this action, and for such other and further relief as the Court deems just

and equitable.




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                                      Respectfully submitted,

                                      DEPEW GILLEN RATHBUN & MCINTEER LC

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                                      Attorneys for Defendant Whipple




                      DESIGNATION OF PLACE OF TRIAL

       COMES NOW the defendant Brandon Whipple and designates Wichita, Kansas,

as the place of the trial of this action.

                                      Respectfully submitted,

                                      DEPEW GILLEN RATHBUN & MCINTEER LC

                                      s/Randall K. Rathbun
                                      Randall K. Rathbun #09765
                                      Attorneys for Defendant Whipple




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                           REQUEST FOR JURY TRIAL

      COMES NOW the defendant Brandon Whipple and respectfully requests a trial

by jury with regard to the above-captioned action.


                                 Respectfully submitted,

                                 DEPEW GILLEN RATHBUN & MCINTEER LC


                                 s/Randall K. Rathbun
                                 Randall K. Rathbun, #09765
                                 Attorneys for Defendant Whipple




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